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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION




John Hancock Life Insurance Company (U.S.A.)
                                                                          Plaintiff,
v.                                                                                     Case No.: 4:18−cv−02869
                                                                                       Judge Keith P Ellison
The Estate of Jennifer Lauren Wheatley c/o Louis A. Wheatley, et al.
                                                                          Defendant.



                                          Official Transcript Filed

An official transcript has been filed. It may contain information protected from public disclosure by law.
See E−Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

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                                             David J. Bradley, Clerk
